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 UNITED STATES DISTRICT COURT FOR                                   I                         •
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 THE SOUTHERN DISTRICT OF NEW YORK
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 IN RE PETROBRAS SECURITIES                            Case No. 14-cv-9662 (JSR)
 LITIGATION

 This Document Relates to All Class Actions.




                             STIPULATION AND AGREEMENT

       WHEREAS, on April 20, 2018, Class Plaintiffs filed the Motion for Final Approval of

Settlement and Plan of Allocation in this matter;

       WHEREAS, on May 11, 2018, Objector Spencer Bueno, by his counsel of record Joshua

R. Furman, filed objections to the class action settlement, including objections to the terms of the

settlement regarding a potential cy pres recipient;

       WHEREAS, on June 25, 2018, this Court entered an Order and Opinion granting Class

Plaintiffs' Motion for Final Approval of Settlement and Plan of Allocation, and instructing the

Clerk to enter Final Judgment and close the case, which the Clerk did on June 27, 2018;

       WHEREAS, on July 2, 2018, this Court entered a Final Judgment adopting provisions of

the Stipulation of Settlement and Release (the "Settlement") and incorporating by reference all

aspects of the June 25, 2018 Order (Doc. No. 838);

       WHEREAS, on July 31, 2018, Objector Spencer Bueno filed a Notice of Appeal of the

Final Judgment (Doc. No. 850), appealing the terms of the Final Judgment incorporating the

Stipulation of Settlement and Release pertaining to the potential cy pres award;




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       WHEREAS, on August 10, 2018, Class Plaintiffs filed a motion for sanctions against

Bueno's counsel Joshua R. Furman (Doc. No. 856);

       WHEREAS, on September 4, 2018, the Court entered an Order on Stipulation of Class

Counsel and Defendants providing that "[n]either Class Counsel nor Petrobras Defendants'

Counsel nor Underwriter Defendants' Counsel shall argue that, by failing to take an appeal from

the judgment of July 2, 2018 approving the Settlement, an objecting Settlement Class Member has

waived a claim with respect to the designation of a cy pres recipient" (Doc. No. 889);

       WHEREAS, on September 21, 2018, the Court entered an Order granting sanctions against

Bueno's counsel Joshua R. Furman in the amount of $10,000, and ordering appellate cost bonds

for objector appeals to be paid by October 1, 2018 (Doc. No. 896);

       WHEREAS, as a first-time objector who attended the final settlement hearing with the

support of his loving girlfriend, Bueno represents that he discovered the courtroom to be an

invigorating yet intimidating place. Only afterwards did Bueno understand how exercising his right

to object to a settlement where he felt he had meritorious claims as a shareholder with over 150,000

shares (the largest holdings among the scant number of total objectors) and legitimate concerns

about who would benefit from the settlement could have a lasting and chilling effect as a result of

the adversarial process. Bueno feels that his objections could have further benefited the members

of the class who may have been unable to attend the settlement hearing ancl/or quite frankly, too

intimidated to object to the Settlement for themselves. Bueno wholeheartedly believes his actions

in pursuing his objection demonstrates his belief in standing up for what he feels his true and just

in the court oflaw that governs the people and companies that serve these people, even when these

companies apparently damage the people. Bueno wishes the for the Court to understand that he

pursued the objections and appeal in this case because he is opposed to the cy pres distribution,




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does not feel that distribution of any benefit on behalf of the class to a Brazilian entity is in the

best interests of the class, that his sole intention in retaining counsel and pursuing this matter was

to benefit the class, Bueno' s counsel apologizes to the Court and all absent class members to the

extent this intention was misconstrued;

       WHEREAS, the parties have now reached an agreement as follows:

       WHEREFORE, IT IS HEREBY STIPULATED:

        1.        On or before October 1, 2018, the undersigned will stipulate to dismissal of Bueno' s

appeal pending before the Second Circuit (Docket No. 18-2276), with each side to bear its own

costs and fees;

       2.         Bueno will not make further objections to any aspect of the Settlement, nor will he

make any further appeals in this matter; except and without prejudice to his right to oppose, object

to, and/or appeal any request by Class Plaintiffs to distribute any benefit to a cy pres recipient or

order thereon; and

        3.        Class Plaintiffs waive the $10,000 sanctions award against Bueno's counsel Joshua

R. Furman.


Dated: September 27, 2018                                Respectfully submitted,

                                                                          LLP

                                                                     · berman
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                                                         Lead Counsel for Class Plaintiffs




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